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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION


UNITED STATES OF AMERICA,
                                             CR 12-6-BU-DLC
                         Plaintiff,

            vs.                              FINDINGS & RECOMMENDATION
                                             CONCERNING PLEA
LUCAS W. MULVAUGH,

                         Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

II and has entered a plea of guilty to one count of conspiring to maintain a drug-

involved premises in violation of21 U.S.C. §§ 846 and 856(a)(l), as set forth in

the Superseding Information. Defendant further agrees to the forfeiture of cash

proceeds in the amount of $50,000 as specified in the Plea Agreement, but if that

amount is not paid as specified then Defendant agrees to enter a concession to a

money judgment in the amount of $466,000 as specified in the Plea Agreement. In

exchange for Defendant's plea, the United States has agreed to dismiss the



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Indictment previously filed in this matter.

       After examining the Defendant under oath, I have made the following

determinations:

       1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him, and an

informed and voluntary admission to the allegation of forfeiture;

       2. That the Defendant is aware of the nature of the charge against him and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements ofthe criminal offense charged and the legal basis

for the forfeiture.

      The Court further concludes that the Defendant had adequate time to review

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the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the

criminal charge set forth in the Superseding Infonnation, and that sentence be

imposed. I further recommend the agreed forfeiture be imposed against

Defendant. Finally, I recommend that the Indictment be dismissed.

      This rmort is forwarded with the recommendation that the Court defer

a decision reeardin2 acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 13 th day of September, 2012.




                                       e emiah C. Lynch
                                        nited States Magistrate Judge




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